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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,         Case No. 1:20-cv-03010-APM

 v.                                               HON. AMIT P. MEHTA

 GOOGLE LLC,

                              Defendant.




 STATE OF COLORADO, et al.,

                              Plaintiffs,         Case No. 1:20-cv-03715-APM

 v.                                               HON. AMIT P. MEHTA

 GOOGLE LLC,

                              Defendant.


 [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION FOR AN EXTENSION
   OF TIME TO OPPOSE THE MOTIONS FILED ON FEBRUARY 10 AND 12, 2023

      Upon consideration of Defendant’s Motion for an Extension of Time to Oppose the

Motions Filed on February 10 and 12, 2023, it is hereby ORDERED:

      1. The Motion is GRANTED;

      2. Oppositions to the Motions must be filed on or before March 10, 2023; and

      3. Replies in support of the Motions must be filed on or before March 24, 2023.



 Dated: February ____, 2023                         _____________________________
                                                           Hon. Amit P. Mehta
                                                     United States District Court Judge
